          Case 22-04061-elm          Doc 3-1 Filed 12/19/22 Entered 12/19/22 14:04:56    Desc
                                        Notice to Litigants Page 1 of 2
BTXN 117n (rev. 02/2015)




                               A copy of this Notice to Litigants should be served
                           on the defendant along with the Summons and Complaint.

                             UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF TEXAS

                                       NOTICE TO LITIGANTS
      You have been named as a defendant in an adversary proceeding, the outcome of
which could affect your bankruptcy discharge. Even if you have already received a
discharge, this is a serious matter that you should not ignore.
       Individual litigants are entitled to appear without an attorney and represent themselves in
the Bankruptcy Court. However, the rules can be quite technical and failure to comply with the
rules can have severe consequences. Before deciding to appear on your own, you should consider
consulting an attorney. If you were represented in your chapter 7 or 13 bankruptcy case by
counsel, you should notify that attorney that you have been named as a defendant.
      If you cannot afford an attorney, you may be eligible for free legal representation through
Legal Aid of NorthWest Texas (LANWT) or the Dallas Volunteer Attorney Program (DVAP). To
determine if you are eligible, you must apply for legal representation at a regularly−scheduled
neighborhood legal clinic. In addition, if you were recently represented by an attorney in a chapter
7 or 13 case, you should notify that attorney immediately.
       Upon application at a neighborhood legal clinic, you will be screened for eligibility based
on your current income and the availability of any other assets to pay for legal services. If it is
determined that you are eligible, an attorney may be found who will represent you without
payment of attorneys' fees. Please note that, even if you are eligible, you may still be responsible
for the payment of costs, such as court reporter fees, deposition transcripts, court transcripts,
postage and copies.
       On the last page of this notice, you will find a list of neighborhood legal clinics, their
locations, and the times they meet. When you make contact with DVAP or LANWT, please have
your copy of the summons and complaint with you, as well as a copy of any Schedule of Assets
and Liabilities and Statement of Financial Affairs filed in your bankruptcy case.
  Case 22-04061-elm    Doc 3-1 Filed 12/19/22 Entered 12/19/22 14:04:56        Desc
                          Notice to Litigants Page 2 of 2
                        Neighborhood Legal Clinics
           EAST DALLAS                                      SOUTH DALLAS
    1st & 3rd Thursdays at 5:00 pm                 1st, 2nd and 4th Tuesdays at 5:00 pm
    Grace United Methodist Church                      Martin Luther King, Jr. Center
         4105 Junius at Haskell                           Core Services Building,
           Dallas, TX 75246                           2922 Martin Luther King Blvd.,
                                                                 Room 122
                                                            Dallas, Texas 75215

FRIENDSHIP WEST BAPTIST CHURCH                      TRIANGLE NEIGHBORHOOD
      3rd Wednesday at 5:30 pm                           3rd Tuesdays at 5:00 pm
      2020 West Wheatland Road                             (excluding summer)
         Dallas, Texas 75232                         St. Phillip.s Community Center
                                                       1600 Pennsylvania Avenue
                                                           Dallas, Texas 75215

          WEST DALLAS                                           GARLAND
    2nd & 4th Thursdays at 5:00 pm                        3rd Thursday at 5:00 pm
           Wesley−Rankin                                   (excluding December)
         Community Center                                     Salvation Army
          3107 N. Winnetka                                  Downtown Garland
         Dallas, Texas 75212                                 457 W. Avenue D
                                                           Garland, Texas 75040

                                 FORT WORTH
                              3rd Tuesday at 5:00 pm
                               (excluding December)
                           Legal Aid of NorthWest Texas
                               600 E. Weatherford St
                              Fort Worth, TX 76102


                              PLEASE TAKE NOTE

          Clinics may be cancelled because of bad weather, federal
         holidays, or during elections. To confirm that a clinic will occur
         as scheduled, contact (214) 243−2247 for Dallas or Garland
         clinics, or (800) 955−3959 for Fort Worth clinics.
         Please bring proof of income and residency, as well as a copy of
         the Schedule of Assets and Liabilities and Statement of Financial
         Affairs filed in your bankruptcy case and the summons and
         complaint. If you have been sued, please bring your legal
         documents.
